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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION

UNITED STATES OF AMERICA

v.                                 4:96CR00233-05-WRW

KEITH V. DUNBAR

                                           ORDER

       Pending is Defendant’s pro se Motion for Early Termination of Supervised Release (Doc.

No. 1323). Neither the Prosecution nor the United States Probation Office object to Defendant’s

request. Defendant’s Motion is GRANTED. Defendant’s term of supervised release is terminated

as of the date of this Order.

       IT IS SO ORDERED this 23rd day of October, 2009.



                                                         /s/Wm. R. Wilson, Jr.
                                                   UNITED STATES DISTRICT JUDGE
